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                                 IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF CONNECTICUT

JOSEPH VELLALI et al.,

Plaintiffs,
                                                               No. 3:16-cv-01345-AWT
v.
                                                               Hon. Alvin W. Thompson
YALE UNIVERSITY et al.,

Defendants.

                         DECLARATION OF SEAN E. SOYARS IN SUPPORT OF
                         PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

I, Sean E. Soyars, of lawful age, declare as follows:

          1.            I am an attorney in the law firm of Schlichter, Bogard & Denton LLP, which

represents the Plaintiffs in this case. I am licensed to practice in the State of Missouri and have

been admitted to practice pro hac vice in this case. If called as a witness, I could and would

competently testify to the facts set forth below as I know them to be true based upon my own

personal knowledge.

          2.            Attached hereto and marked as Exhibit 1 is a true and correct copy of the Yale

University Retirement Account Plan, Amended and Restated effective as of July 1, 2015, which I

downloaded on January 15, 2019 from the following Yale University website:

https://your.yale.edu/sites/default/files/yurap_plan_document_06_30_2016_signed.pdf.1

          3.            Attached hereto and marked as Exhibit 2 is a true and correct copy of the 2010

Form 5500 for the Yale University Retirement Account Plan, which was downloaded from the



     1
      Plaintiffs are filing publicly available versions of the Plan document and Forms 5500
because Defendants marked the copies produced in discovery as CONFIDENTIAL, in violation
of the Protective Order. Cf. Doc. 11 ¶3 (“‘CONFIDENTIAL’ information means information,
documents, or things that have not been made public by the disclosing party ….”) (emphasis
added).


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United States Department of Labor, Employee Benefits Security Administration website at:

https://www.efast.dol.gov/portal/app/disseminatePublic?execution=e1s1.

        4.            Attached hereto and marked as Exhibit 3 is a true and correct copy of the 2011

Form 5500 for the Yale University Retirement Account Plan, which was downloaded from the

United States Department of Labor, Employee Benefits Security Administration website at:

https://www.efast.dol.gov/portal/app/disseminatePublic?execution=e1s1.

        5.            Attached hereto and marked as Exhibit 4 is a true and correct copy of the 2012

Form 5500 for the Yale University Retirement Account Plan, which was downloaded from the

United States Department of Labor, Employee Benefits Security Administration website at:

https://www.efast.dol.gov/portal/app/disseminatePublic?execution=e1s1.

        6.            Attached hereto and marked as Exhibit 5 is a true and correct copy of the 2013

Form 5500 for the Yale University Retirement Account Plan, which was downloaded from the

United States Department of Labor, Employee Benefits Security Administration website at:

https://www.efast.dol.gov/portal/app/disseminatePublic?execution=e1s1.

        7.            Attached hereto and marked as Exhibit 6 is a true and correct copy of 2014 Form

5500 for the Yale University Retirement Account Plan, which was downloaded from the United

States Department of Labor, Employee Benefits Security Administration website at:

https://www.efast.dol.gov/portal/app/disseminatePublic?execution=e1s1.

        8.            Attached hereto and marked as Exhibit 7 is a true and correct copy of the 2015

Form 5500 for the Yale University Retirement Account Plan, which was downloaded from the

United States Department of Labor, Employee Benefits Security Administration website at:

https://www.efast.dol.gov/portal/app/disseminatePublic?execution=e1s1.




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        9.            Attached hereto and marked as Exhibit 8 is a true and correct copy of the 2016

Form 5500 for the Yale University Retirement Account Plan, which was downloaded from the

United States Department of Labor, Employee Benefits Security Administration website at:

https://www.efast.dol.gov/portal/app/disseminatePublic?execution=e1s1.

        10.           Attached hereto and marked as Exhibit 9 is a true and correct copy of the 2017

Form 5500 for the Yale University Retirement Account Plan, which was downloaded from the

United States Department of Labor, Employee Benefits Security Administration website at:

https://www.efast.dol.gov/portal/app/disseminatePublic?execution=e1s1.

   I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed on January 15, 2019.                              /s/ Sean E. Soyars
                                                           Sean E. Soyars




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